                      UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF NEW YORK

---------------------------------------- x
UNITED STATES OF AMERICA                 :
                                         :       Case No. 17-cr-00684-ER
v.                                       :
                                         :       ECF Case
LAMONT EVANS                             :
EMANUEL RICHARDSON, a/k/a “Book,”        :
ANTHONY BLAND, a/k/a “Tony,”             :
CHRISTIAN DAWKINS, and                   :
MERL CODE,                               :
                                         :
     Defendants.                         :
-----------------------------------------X

  OMNIBUS REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
JOINT MOTIONS (1) TO DISMISS THE INDICTMENT, (2) TO SUPPRESS WIRETAP
   EVIDENCE, (3) TO SUPPRESS CELLPHONE EVIDENCE, AND (4) A BILL OF
    PARTICULARS, AND ADDITIONAL DISCOVERY, INCLUDING, EARLY
          DISCLOSURE OF ANY BRADY AND GIGLIO EVIDENCE



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                                PRELIMINARY STATEMENT

        Defendants Christian Dawkins and Merl Code (collectively “Defendants”) respectfully

submit this memorandum of law in further support of the following pretrial motions:

        1. Defendants’ Joint Motion to Dismiss the Indictment (“Defendants’ Motion to
           Dismiss”), (ECF Nos. 132, 133);

        2. Defendants’ Joint Motion to Suppress Wiretap Evidence and for Additional
           Information Concerning the Presentment of Those Interceptions to the Grand Jury
           (“Defendants’ Motion to Suppress Wiretap Evidence”), (ECF Nos. 128, 130);

        3. Defendants’ Joint Motion to Suppress Evidence Obtained From the Search of
           Defendants’ Cell Phones (“Defendants’ Motion to Suppress Cell Phone Evidence”),
           (ECF Nos. 124, 126); and

        4. Defendants’ Joint Motion for a Bill of Particulars and Additional Discovery,
           Including, the Release of Brady Materials (“Defendants’ Motion for a Bill of
           Particulars and Additional Discovery”), (ECF Nos. 125, 127, 129), (collectively,
           “Defendants’ Pretrial Motions”).

        While the Government argues that “[t]hese motions are almost entirely a reiteration of

arguments made and rejected in the related cases of United States v. Person et al., 17 Cr. 683

(LAP), and United States v. Gatto et al., 17 Cr. 686 (LAK)[,]” Defendants respectfully part

company with the holdings of those cases and request that this Court decline to follow them.

Accordingly, for the reasons set forth below, Defendants’ Pretrial Motions should be granted in

their entirety.1




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        Unless otherwise defined, capitalized terms shall have the same meaning ascribed to
them in each of Defendants’ respective Pretrial Motions. Exhibits attached to each respective
Pretrial Motion will be defined according to the applicable Pretrial Motion (i.e., Ex. 1 to Defs.’
Mot. to Dismiss, Ex. 1 to Defs.’ Mot. to Suppress Wiretap Evid., etc.). The Government’s
opposition brief, filed January 30, 2019, is hereinafter referred to as “Opp.” (ECF No. 153).
Codefendants Lamont Evans, Emmanuel Richardson, and Anthony Bland are hereinafter
collectively referred to as the “Coach Defendants.”
                                                 1
                                           ARGUMENT

DEFENDANTS’ MOTION TO DISMISS

         From the outset, Defendants recognize that several of Judge Preska’s holdings in Person,

many of which the Government cited in its response, run contrary to the arguments within

Defendants’ Motion to Dismiss. However, Defendants respectfully disagree with those holdings

and, for the reasons set forth below, request that this Court decline to follow them.

    I.   A Violation of NCAA Rules Does Not Constitute Federal Funds Bribery.

         The federal funds bribery statute specifically requires proof that an “agent” of a federally

funded organization was influenced or rewarded “in connection with any business, transaction,

or series of transactions of such organization.” See 18 U.S.C. § 666. These elements require a

clear focus on whether the employee’s conduct was corrupted in connection with the employer’s

business. Relying entirely on cases outside the Second Circuit, the Government contends that the

term “agent” and the transactional element (“in connection with any business, transaction, or

series of transactions”) should be construed “broadly,” such that a college basketball coach’s

agreement to recommend that his players retain the services of a specific individual’s firm if and

when they enter the NBA falls within the ambit of § 666. (Opp. at 7–9).

         The Government’s appeal to construe § 666 “broadly” runs afoul of McDonnell v. United

States2 and the well settled principle that courts should “construe criminal statutes narrowly.”

United States v. Valle, 807 F.3d 508, 528 (2d Cir. 2015). The Government’s position is also

completely untethered from the statute’s goal “to protect the integrity of the vast sums of money

distributed through federal programs from theft, fraud, and undue influence by bribery.” Sabri v.




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        See 136 S.Ct. 2355, 2373 (2016) (holding that prosecution of public official for “the most
prosaic interactions” would violate due process).
                                                  2
United States, 541 U.S. 600, 606 (2004). Put simply, the federal funds bribery statute was not

intended to be “a general anti-corruption statute.” United States v. Frega, 933 F. Supp. 1536,

1542 (S.D. Cal. 1996).

       First, the Government’s proposed interpretation of “agent” is improperly expansive. It

would capture any employee of a federally funded organization, from the part-time janitor to the

chief executive officer, regardless of whether they control (directly or indirectly) any of the

federally funded entity’s dollars. This broad definition stretches § 666 well beyond its stated

purpose and is particularly troubling in the context of this case, where the Government is not

seeking to vindicate any federal interest but is instead seeking to enforce a private association’s

rules. See United States v. Phillips, 219 F.3d 404, 415 (5th Cir. 2000) (holding that “the absence

of any federal interest in this prosecution militates in favor of our analysis that the statutory term

‘agent’ should not be given the broadest possible meaning, as urged by the government”).

       Given the very broad scope of the term “agent” if it is read to be any employee, and

particularly in light of McDonnell, this Court should follow the Fifth Circuit and adopt a

definition for federal funds bribery related to private employers that tracks the statutory language

and is consistent with the purpose of § 666: “for an individual to be an ‘agent’ for the purposes of

section 666, he must be ‘authorized to act on behalf of [the agency] with respect to its funds.’”

United States v. Whitfield, 590 F.3d 325, 344 (5th Cir. 2009) (quoting Phillips, 219 F.3d at 411)

(emphasis added). At a minimum, “agent” cannot be read so broadly as to apply to any employee

regardless of the circumstances. See Valle, 807 F.3d at 528 (cautioning that courts must “construe

criminal statutes narrowly so that Congress will not unintentionally turn ordinary citizens into

criminals”).




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       Second, § 666 does not apply to conduct performed outside the scope of an individual’s

duties as an agent of his federally funded principal. Indeed, the statutory definition of the term

“agent” is limited to “a person authorized to act on behalf of” the federally funded organization.

18 U.S.C. § 666(d)(1) (emphasis added). Consistent with that definition, § 666 requires a nexus

between any payment and the “business” or “transaction” of the federally funded organization.

See 18 U.S.C. §§ 666(a)(1)(B), 666(1)(2). Taken together, the definition of agency and the nexus

requirement make clear that federal funds bribery reaches only conduct performed in an

individual’s capacity as an agent of a federally funded organization. That is the lesson of

Whitfield, in which the Fifth Circuit vacated § 666 convictions where the defendants’ acceptance

of payments had nothing to do with their role as agents of a federally funded organization. See

590 F.3d at 346. Indeed, in the successful § 666 prosecutions cited by the Government (and

Defendants), an agent of a federally funded organization was paid to carry out his duties

corruptly. See, e.g., United States v. Fernandez, 722 F.3d 1 (1st Cir. 2013) (Puerto Rico legislator

bribed to pass certain legislation); United States v. Robinson, 663 F.3d 265 (7th Cir. 2011)

(attempted bribery of police officer to “get the heat off” a drug distribution operation). As in the

context of honest services fraud, the Court should consider the scope of the Coach Defendants’

agency as employees of their respective universities in determining whether Defendants can be

prosecuted under § 666. Because it was clearly not part of the Coach Defendants’ duties to

recommend that their players retain the services of a specific individual’s firm if and when they

entered the NBA, it cannot be said that they were bribed to act “on behalf of” their universities

when they allegedly did so.

       Third, Defendants cannot be charged under § 666 because their alleged conduct was not

connected to any “business” or “transaction” of the universities at issue. The Government



                                                  4
concedes that the relevant universities are not in the business of recommending financial advisors

to basketball players. (Opp. at 14). Nevertheless, the Government contends that they “are

certainly in the business of running an NCAA compliant athletics program.” (Id.) The

Government’s reframing of the universities’ “business” in terms of their interest in complying

with the NCAA rules is untenable for the same reason discussed below in the context of honest

services fraud: the Government improperly conflates the quid and quo elements essential to any

bribery charge. The alleged payments received by the Coach Defendants did not induce them to

violate NCAA rules; the payments themselves were the alleged violations.

       The Government has also failed to cite to a single case that supports its distorted view of

the transactional element where the word “business” means compliance with private rules.

Instead, at least in the application of § 666 to the private sector, “business” should be given its

ordinary meaning of commercial activity. See Black’s Law Dictionary (10th ed. 2014) (defining

“business” as “commercial enterprise carried on for profit; a particular occupation or

employment habitually engaged in for livelihood or gain”); Merriam-Webster Dictionary,

https://www.merriam-webster.com/dictionary/business (last visited February 25, 2019) (defining

“business” as “a usually commercial or mercantile activity engaged in as a means of livelihood”);

see also United States v. Worldwide Indus. Enterprises, Inc., 220 F. Supp. 3d 335, 339 (E.D.N.Y.

2016) (“Alongside the statutory context, a court may also consult dictionaries to determine the

ordinary, common-sense meaning of the words.” (internal citations and quotation marks

omitted)).3 Complying with the NCAA’s amateurism rules is not remotely the sort of commercial

or economic activity that implicates the integrity of federal funds.



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        The Government cites to out-of-circuit cases to argue that, for purposes of § 666, the term
“business” includes non-commercial activity. But those cases involved bribes to influence public
officials – a very different context. See, e.g., Robinson, 663 F.3d at 274 (bribes paid to police
                                                  5
 II.   The Federal Funds Bribery Statute and the Honest Services Fraud Statute are
       Unconstitutionally Vague as Applied.

       As detailed in Defendants’ opening brief, it would run afoul of due process to permit

Defendants to be prosecuted for federal funds bribery and honest services fraud under the facts

of this case. (See ECF No. 133 at 27-32). And, as detailed above, Defendants respectfully request

that this Court part company with Judge Preska’s holdings on this issue in Person. (See Opp. at

15). In short, due process forecloses the Government’s effort to expand the scope of federal

funds bribery and honest services fraud to fit these circumstances. Under the Government’s theory

in this case, an individual who works for a federally funded organization governed by broad

private rules like the NCAA rules has a duty – extending to every aspect of his life – never to give

or accept something of value if it results in a violation of those private rules. That approach

abolishes any meaningful limits to the type of conduct prohibited by § 666 and is inconsistent

with the Supreme Court’s direction that the “quo” element in a corruption case must be construed

narrowly to prevent the “standardless sweep of the Government’s reading.” McDonnell, 136

S.Ct. at 2373.

       As to honest services fraud, due process likewise precludes the Government from

importing the entire NCAA rulebook into the federal criminal code via the honest services fraud

statute. Like McDonnell, the theory of prosecution in this case raises a significant due process

concern about criminalizing “the most prosaic interactions” in the form of routine and otherwise

lawful conduct. See McDonnell, 136 S.Ct. at 2373. Just as that concern compelled the Supreme

Court to cabin the “quo” (i.e., the “official act”) in public sector honest services fraud cases, see




officers); Fernandez, 722 F.3d at 14 (bribes paid to legislators). We are aware of no federal funds
bribery case involving a private employer where the term “business” was given a similarly
expansive meaning, and there certainly is no Second Circuit case construing the statute this way.
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id. at 2372–73, the same concern demands a coherent, limiting principle for “honest services” in

a private sector honest services fraud case. See United States v. Silver, 203 F. Supp. 3d 370, 379

n.8 (S.D.N.Y. 2016) (observing that “[t]he Supreme Court was clearly seeking to cabin the ‘quo’

in the quid pro quo element of honest services fraud and extortion in order to avoid [certain]

constitutional concerns,” including subjecting individuals to prosecution without fair notice).

III.   Payments in Violation of NCAA Rules Do Not Constitute Honest Services Fraud.

       Although the honest services fraud statute is broadly written, the Supreme Court has

narrowed its reach to the “solid core” of cases involving defendants who, “in violation of a

fiduciary duty, participated in bribery or kickback schemes.” Skilling v. United States, 561 U.S.

358, 407 (2010). The Second Circuit had previously identified such schemes as those in which “a

defendant who has or seeks some sort of business relationship or transaction with the victim

secretly pays the victim’s employee (or causes such a payment to be made) in exchange for

favored treatment.” U.S. v. Rybicki, 354 F.3d 124, 139 (2d Cir 2003). The Government does not

dispute that the conduct alleged in the Indictment falls completely outside the Rybicki definition

of bribery and kickback cases. Instead, citing United States v. Nouri, 711 F.3d 129 (2d Cir. 2013),

the Government argues that “the existence of a fiduciary relationship between an employee and

employer is beyond dispute, and the violation of that duty through the employee’s participation

in a bribery or kickback scheme is within the core of actions criminalized by § 1346.” (Opp. at

18-19).4



4
       In Nouri, executives of a publicly traded company bribed a brokerage firm employee to
purchase the company’s stock on behalf of the brokerage firm’s customers. There was no
question in that case that the broker had a fiduciary duty to his employer to act faithfully when he
bought and sold stock for his customers, and that he breached that duty when he bought and sold
the company’s stock in exchange for payments from the company’s executive. Nouri thus
presented a classic honest services fraud case in which the defendants secretly paid bribes to an
employee of that brokerage firm for the purpose of getting the employee to perform a key aspect
                                                 7
       At bottom, this charge improperly collapses the quid and quo elements essential to honest

services fraud. In all honest services fraud cases, the quid is the bribe or kickback, and the quo is

the independent violation of a fiduciary duty. See Skilling, 561 U.S. at 407. Logically, the quid

and the quo cannot be one and the same; otherwise, for instance, every violation of an employer’s

prohibition on outside income would be a federal crime. But that is precisely how honest services

fraud is charged here. According to the Indictment, the Coach Defendants agreed to steer players

to use the services of Mr. Dawkins and others in exchange for improper payments. This theory

does not work because the alleged payments to the Coach Defendants did not induce them to act

in a way that violated their fiduciary duties to their respective employers. The Coach

Defendants’ acceptance of payments were themselves the breaches of their duties to the

respective universities. The conduct sought in exchange – steering their basketball players to Mr.

Dawkins and others – is not alleged to be the violation. This is because the NCAA rules do not

prohibit college coaches from recommending that their players retain the services of a specific

individual’s firm if and when they entered the NBA; the rules prohibit only the acceptance of the

payment. Thus, even if the Coach Defendants should not have accepted money under applicable

NCAA rules, the payments did not induce the Coach Defendants to perform their jobs in a way

that were contrary to their respective universities’ interests because those universities had no

independent interest in recommending that their players retain the services of a specific

individual’s firm. In other words, the payments did not corrupt the services that the Coach

Defendants performed for their respective universities.




of his job – buying stocks for clients – faithlessly. See id. at 133–36, 144–45. In other words, the
Nouri defendants wanted something from the broker-dealer (execution of transactions for
customers) and required a corrupt employee to obtain it.
                                                  8
        The Government’s error is based on the notion that the Coach Defendants were

fiduciaries of their respective universities for all purposes. But their duties to those universities

were necessarily limited by the scope of their employment relationships with the universities.

See, e.g., United States v. deVegter, 198 F.3d 1324, 1329 (11th Cir. 1999) (defining breach of

fiduciary duty in private sector honest services fraud as conduct that “contravene[s] – by

inherently harming – the purpose of the parties’ relationship”). For honest services fraud, it is

essential to look at the services that the Coach Defendants were obligated to provide to their

respective universities to determine whether bribes or kickbacks corrupted those services.

Recommending that their players retain the services of a specific individual’s firm was not part

of the Coach Defendants’ jobs, and neither the Coach Defendants nor their universities were (or

were alleged to be) fiduciaries to any of the players. The Coach Defendants were, instead, simply

basketball coaches, with duties like recruiting players, running basketball practices, teaching

basketball skills, developing basketball strategies, and coaching during games. There is nothing in

the Indictment that suggests that they failed to perform these services faithfully.

        The Government invokes the NCAA rules to counter that the Coach Defendants

nevertheless committed honest services fraud because they supposedly violated their obligation to

follow the NCAA rules. But the NCAA rules do not define the scope of the Coach Defendants’

services. Rather, the rules are an all-encompassing code of conduct regulating nearly every aspect

of college coaches’ lives; because they are designed to further the goals of amateurism and the

ideal of student athletes, the rules in many instances prohibit or regulate conduct that has nothing

to do with the services that coaches have been hired to perform.5 Perhaps it is unethical or



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       In this regard, the NCAA rules are entirely unlike the FINRA rules considered in Nouri,
which related directly to the duties of a broker.


                                                   9
immoral for coaches to receive payments for introducing players to certain financial advisors or

firms for those players potentially to use in the future, but such introductions have nothing to do

with the coaches’ job duties.

       A broad code of conduct like the NCAA rules cannot, standing alone, support an honest

services fraud charge. To hold otherwise would mean that every employee with a “morals

clause” in his employment contract would commit honest services fraud by receiving payment

for outside work that brings disrepute upon his employer. Courts have properly rejected efforts to

stretch private sector honest services fraud this broadly. See, e.g., United States v. Cochran, 109

F.3d 660, 667 (10th Cir. 1997) (holding that “it would give us great pause if a right to honest

services is violated by every breach of contract”). Rather than rely on an employee’s compliance

with a general code of ethics, the focus properly belongs on the services the employee was

supposed to provide to his employer. In United States v. Jain, 93 F.3d 436 (8th Cir. 1996), for

instance, the Eighth Circuit reversed a psychologist’s conviction for honest services fraud based

upon his referral of patients to a psychiatric hospital in exchange for referral fees. The

Government grounded the defendant’s breach of duty in the ethical rules governing

psychologists, which prohibited referral fees. See id. at 442 & n.3. Although the defendant had

violated this ethical rule, the Eighth Circuit rejected the Government’s theory of prosecution

“because the breach did not affect the services rendered.” Id. at 442. Because the evidence

showed that the psychologist had faithfully rendered services to his patients, and the ethical

violation “did not affect the quality or cost of his services,” the court reversed the honest services

fraud conviction. See id. For these reasons, the honest services fraud statute cannot bear the

Government’s strained interpretation.




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IV.    A Scheme to Make Payments in Violation of NCAA Rules is Not a Travel Act
       Conspiracy.

       The Indictment alleges a Travel Act conspiracy with South Carolina, Oklahoma, Arizona,

and California misdemeanors as the predicate offenses: commercial bribery, bribery with respect

to agents servants, or employees, S.C. Code Ann. § 16-17-540; bribery of fiduciary, 21 Okl. St.

Ann. § 380; commercial bribery, A.R.S. § 13-2605; and commercial bribery, Cal. Penal Code §

641.3. These statutes, like the New York commercial bribery statute, require the conferral of a

benefit upon an employee, agent, or beneficiary with the intent to influence his conduct in

relation to his employer’s, principal’s, or fiduciary’s business, conduct, or affairs. See S.C. Code

Ann. § 16-17-540; 21 Okl. St. Ann. § 380; A.R.S. § 13-2605; Cal. Penal Code § 641.3; see also

N.Y. Penal Law § 180.00.

       The Second Circuit has interpreted this statutory language to mean that “the payment

must be made for the purpose of inducing the employee to act contrary to the interest of, and

inconsistently with, his duties to his current employer.” United States v. Geibel, 369 F.3d 682,

699 (2d Cir. 2004) (interpreting New York commercial bribery statute). As with private sector

honest services fraud, the quintessential violation of a state commercial bribery statute involves

“payment of money to a purchasing agent, to cause him to buy goods for his employer from one

vendor rather than from another.” People v. Jacobs, 130 N.E.2d 636, 637 (N.Y. 1955)

(interpreting New York commercial bribery statute). Here, just as the Coach Defendants’

conduct did not concern the business or transaction of their respective employers as required by

§ 666, see supra, their alleged agreements to steer players to use the services of Mr. Dawkins and

others in exchange for improper payments were entirely unconnected to their duties as basketball

coaches for their respective universities. Accordingly, the Travel Act charge should be

dismissed.

                                                 11
DEFENDANTS’ MOTION TO SUPPRESS WIRETAP EVIDENCE

         Similar to the circumstances surrounding Defendants’ Motion to Dismiss, Defendants

recognize that several of Judge Kaplan’s holdings in Gatto, many of which the Government cited

in its response, run contrary to the arguments within Defendants’ Motion to Suppress Wiretap

Evidence. However, Defendants respectfully disagree with those holdings and, for the reasons

set forth below, request that this Court decline to follow them.

    I.   Title III Mandates Suppression of the Communications Intercepted Pursuant to the
         April 7 Wiretap Order.

         The Government argues that Defendants’ suppression motion should be denied because

the Supreme Court has “repeatedly made clear” that “suppression [under Title III] is required

only” when a defect in a wiretap order “undermine[s] the Government’s compliance with the core

statutory requirements of Title III.” (Opp. at 29-30). Accordingly, the Government contends,

“suppression is not appropriate” here because the April 7 Order “while imperfect, was not

insufficient,” since “there is no question that an appropriate official did, in fact, authorize the

application.” (Opp. at 29, 32).

         The Government misconstrues Supreme Court precedent. The Supreme Court has never

applied the “core concerns” test cited by the Government to a suppression motion brought

pursuant to Subsection (ii).6 In each of the Supreme Court cases cited by the Government, the

Supreme Court employed the “core concerns” test to assess whether a communication was

“unlawfully intercepted” in violation of Subsection (i), not whether a wiretap order was “facially



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        As Defendants explained in their opening brief, see ECF No. 130 at 15, Title III provides
for suppression on any of the following grounds: (i) the “communication was unlawfully
intercepted” (“Subsection (i)”); (ii) the “order of authorization or approval under which it was
intercepted is insufficient on its face” (“Subsection (ii)”); or (iii) the “interception was not made
in conformity with the order of authorization or approval” (“Subsection (iii)”). 18 U.S.C. §
2518(10)(a). Defendants have moved to suppress pursuant to Subsection (ii).
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insufficient” under Subsection (ii). United States v. Donovan, 429 U.S. 413, 432, 97 S.Ct. 658,

670 (1977) (“There is no basis on the facts of this case to suggest that the authorization orders are

facially insufficient . . . thus, only [Subsection (i)] is relevant”); United States v. Giordano, 416

U.S. 505, 525 n.14, 94 S.Ct. 1820, 1831 n.14 (1974) (“intercept order was facially sufficient

under [Subsection (ii)]” because the “order, on its face, clearly, though erroneously, identified

Assistant Attorney General Wilson” as the authorizing official) (emphasis added); United States

v. Chavez, 416 U.S. 562, 573-74, 94 S.Ct. 1849, 1855 (1974) (finding “facial sufficiency”

because “the interception order clearly identified ‘on its face’ Assistant Attorney General Wilson

as the person who authorized the application to be made.”). Indeed, as the Government correctly

recognized, the Supreme Court recently held that the “core concerns” test does not apply where

the suppression motion is made pursuant to Subsection (ii). (See Dahda v. United States, 138

S.Ct. 1491, 1498 (2018); see also Opp. at 39 n.12).

         Contrary to the Government’s assertions, Supreme Court precedent supports the

interpretation of Title III that the D.C. Circuit has adopted and which Defendants urge this Court

to apply here, i.e., that suppression motions brought under Subsection (i) require a “broad inquiry

. . . to determine whether the government’s actions transgressed the core concerns of the [wiretap]

statute,” but motions to suppress under Subsection (ii) require only “a mechanical test; either the

warrant is facially sufficient or it is not.” United States v. Glover, 736 F.3d 509, 513 (D.C. Cir.

2013).

         While the Government claims that Chavez allows a court, under Subsection (ii), to

“engage[] in a substantive inquiry into whether the Government had satisfied the core statutory

requirements of Title III” by “look[ing] behind the [defective] order” to see whether an

appropriate Justice Department official approved the wiretap, see Opp. at 35 n.8, 36, a close



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reading of Chavez leads to the exact opposite conclusion. The wiretap order in Chavez

mistakenly identified one Justice Department official as authorizing the wiretap, when it had been

authorized by a different official. 416 U.S. at 573-74. The Supreme Court engaged in a

“mechanical test” under Subsection (ii) to ascertain whether the order was “facially sufficient,”

see Glover, 736 F.3d at 513, and concluded that it was, because – unlike the April 7 Order – the

“order clearly identified ‘on its face’” an authorized Justice Department official. Chavez, 416

U.S. at 573-74. After concluding that the order was “facially sufficient,” the Court noted:

“Moreover, even if we were to look behind the order despite the clear ‘on its face’ language of

[subsection (ii)], it appears that the Attorney General authorized the application.” Id. at 574

(emphasis added). This language demonstrates that “look[ing] behind the order” to see whether

an appropriate official authorized the wiretap is not part of a Subsection (ii) analysis.7

        The Supreme Court’s opinion in Giordano also refutes the Government’s contention that

suppression of the April 7 Order is not warranted under Subsection (ii) because “there is no

question that an appropriate official did, in fact, authorize the application.” (Opp. at 29). In

Giordano, the Court explicitly drew a distinction, for purposes of Subsection (ii), between orders

that did not merit suppression because they misidentified the authorizing Justice Department

official, as in Chavez, and orders that failed to identify any official “at all,” as is the case with the

April 7 Order. Giordano, 416 U.S. at 525 n.14 (wiretap order is “insufficient on its face” when it

“fail[s] to identify at all in the interception order the person who authorized the application,” but

is “facially sufficient” when “on its face,” the order “clearly, though erroneously, identif[ies]” an




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        The Government is correct that the Supreme Court applied the “core concerns” test in
Chavez, but only with respect to its analysis of whether there had been a Subsection (i) violation,
not as part of its analysis under Subsection (ii). Id. at 575-580
                                                   14
authorizing Justice Department official) (emphasis added). When an order is “insufficient on its

face,” Subsection (ii) requires suppression.

       Giordano and Chavez also make clear that the Supreme Court did not develop the “core

concerns” test in order to prevent Title III’s suppression remedy from being used for “technical”

errors, as the Government implies. Instead, the “core concerns” test was designed to ensure that

Subsection (ii) could be distinguished from Subsection (i) so that there would be no statutory

redundancies. Id. at 526-27. In Giordano, the challenged order stated that the wiretap had been

approved by an authorized Justice Department official, when in fact approval had been given by

an official who lacked authority to do so. Id. at 510, 525. As in Chavez, the Supreme Court held

in Giordano that the order was “facially sufficient” because, on its face, the order met all the

statutory requirements of Title III, and thus, there was no basis for suppression under Subsection

(ii). Id. at 525 n.14. The only question was whether the lack of approval from an authorized

Justice Department official rendered the wiretap interceptions “unlawful” under Subsection (i).

       The dispute concerned whether Subsection (i)’s prohibition on “unlawful” interceptions

was meant to encompass only interceptions that violated a constitutional right or whether the

provision also covered certain statutory violations. Id. at 525-27. The question posed a difficult

statutory interpretation issue for the Supreme Court because Subsection (ii) and Subsection (iii)

already reached “some purely statutory defaults without constitutional overtones.” Id. If

Subsection (i) was also read to include non-constitutional statutory violations, Subsection (ii) and

(iii) would be “drained of all meaning” and would constitute “surplusage.” Id.

       To address this problem and to preserve a meaningful distinction between the “statutory

violations” addressed by Subsections (ii) and (iii) and the “statutory violations” that could render

an interception “unlawful” under Subsection (i), the Supreme Court developed the core concerns



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test, which holds that a statutory violation only renders an interception “unlawful” for purposes of

suppression under Subsection (i) when the statutory provision violated is one that plays a “central

role in the statutory scheme.” Id. at 527-528; see also Chavez, 416 U.S. at 575 (“it is apparent . . .

that [Subsection] (i) was not intended to reach every failure to follow statutory procedures, else

[Subsections] (ii) and (iii) would be drained of meaning. . . . [Subsection] (i) does include any

failure to satisfy any of those statutory requirements that directly and substantially implement”

Congress’s intent for “this extraordinary investigative device.”). Statutory violations that do not

implicate the “core concerns” of Title III are not “unlawful” under Subsection (i), but may still

require suppression under Subsection (ii) if they involve a facial insufficiency.

       In its response, the Government claims that suppression under Subsection (ii) requires

application of the “core concerns” test. The Government’s interpretation cannot be correct

because this reading of Title III re-creates the very redundancy that the Supreme Court fixed, via

the “core concerns” test, in Giordano. Applying the “core concerns” test to suppression under

Subsection (ii) would mean that any statutory insufficiency that merited suppression under

Subsection (ii) would necessarily also merit suppression under Subsection (i)—the very

redundancy that the Supreme Court sought to avoid in Giordano when it first adopted the “core

concerns” test in order to limit the phrase “unlawfully intercepted” in Subsection (i). Glover, 736

F.3d at 513-14 (“applying the ‘core concerns’ test to [Subsection (ii)] would actually treat that

paragraph as ‘surplusage’—precisely what the Supreme Court tried to avoid”). The Government

offers no rebuttal to this fundamental problem. In Re Application to United States for an Order

for Prospective Cell Site Location Info. On a Certain Cellular Tele., 460 F. Supp. 2d 448, 458

(S.D.N.Y. 2006) (Kaplan, J.) (statutory interpretation improper where it “would violate the settled




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rule that the Court must, if possible, construe a statute to give every word some operative

effect.”).

        Moreover, the Government asks this Court to adopt an interpretation of Title III that is at

odds with the recent Supreme Court holding in Dahda, supra, which recognized that the “core

concerns” test does not apply where the suppression motion is made pursuant to Subsection (ii).

(See 138 S.Ct. at 1498; see also Opp. at 39 n.12 (“In Dahda, the Court held that the ‘core

concerns’ test . . . with respect to a suppression motion made pursuant to 18 U.S.C. §

2518(10)(a)(i), does not apply where, as here, the motion is made pursuant to Section

2518(10)(a)(ii). . . . Instead, the Court held that with respect to subparagraph (ii), ‘[t]he statute

means what it says. That is to say, subparagraph (ii) applies where an order is ‘insufficient on its

face.’”)). Accordingly, the insufficiency in the April 7 Order warrants suppression.

 II.    The April 7 Wiretap Order Was Not Supported by Probable Cause.

        As set forth in Defendants opening brief, the April 7 Wiretap Order (and all subsequent

Wiretap Orders) failed to set forth a sufficient factual basis to establish probable cause to believe

that any target was committing any of the target offenses enumerated in the Wiretap Orders.

(ECF No. 130 at 17-20). In response, the Government attempts to overcome this deficit by first

asking the Court to consider the alleged bribery scheme detailed in the April 7 Warrant

Application, (Opp. at 45-46), an then by attempting to distinguish this case from United States v.

Walters, 997 F.2d 1219 (7th Cir. 1993). (Opp. at 47).

        Contrary to the Government’s assertion, however, that this case is “completely

distinguishable from Walters,” see id., this case is actually extremely similar to Walters. In fact,

the only material difference between this case and Walters is that the charges were brought in

different circuits. Indeed, notwithstanding its initial assertion to the contrary, the Government is



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keenly aware of the similarities between this case and Walters along with the fact that

Defendants – in all likelihood – would not have been criminally charged for engaging in

identical conduct in the Seventh Circuit. (See id. (“[E]ven assuming a factual similarity between

the cases, the law of Walters is not the law of this Circuit.”) (emphasis added)).

         The Government also points to a handful of facts in the April 7 Warrant Application

regarding NCAA rules and violations of the same. (Opp. 45-46). These facts, without more, are

wholly insufficient to establish probable cause that Defendants or the Coach Defendants intended

to defraud the universities at issue or that defrauding such universities was ever the object of the

supposed scheme. Moreover, the inclusion of certain facts regarding the NCAA certification

process did not establish that a scheme to defraud the universities was afoot. Accordingly, the

April 7 Wiretap Order (and all subsequent Wiretap Orders) were not supported by probable

cause.

III.     The Wiretap Orders Were Unnecessary and, Therefore, Unlawful.

         In United States v. Lilla, the Second Circuit held that Title III does not authorize a

wiretap where “the normal investigative procedures that were used were successful.” 699 F.2d

99, 104 (2d Cir. 1983); see also ECF No. 130 at 27. Here, as in Lilla, the April 7 Affidavit

clearly evidenced Marty Blazer’s cooperation with law enforcement. Indeed, at the

Government’s direction, Mr. Blazer surreptitiously recorded his communications with several

individuals—the content of which were described at length in the April 7 Affidavit. Collectively,

the recordings painted a complete picture of the financial arrangement between Mr. Blazer and

Codefendant Evans. Likewise, future acts related to the supposed bribery scheme, including

future payments to Mr. Evans or any introductions of players to Mr. Blazer, would have been

subject to similar surveillance through the Government’s cooperator. Under these circumstances,



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where the Government had a willing cooperator who was able to obtain sufficient information

regarding the alleged offense, tapping Defendants’ cell phones was wholly gratuitous and thus

unlawful. See, e.g., United States v. Concepcion, 579 F.3d 214, 220 (2d Cir. 2009) (“A wiretap is

not a device to be turned to as an initial matter, but only where the circumstances demonstrate

that it is necessary.”).

        In its response, the Government attempts to justify its serious invasion of privacy by

arguing: (1) that the wiretaps of Defendants’ phones were “needed to capture . . . criminal

conversations with others that did not involve [Mr. Blazer]” (Opp. at 54); (2) that employing

normal investigative techniques would have been too difficult (id.); and (3) that Lilla is

distinguishable because the April 7 Affidavit “was not for a ‘small-time narcotics case,’ but for a

complex white-collar investigation of corruption in the billion-dollar industry of college athletics

perpetrated by sophisticated and publicly known figures” (Opp. at 56). None of these arguments

is persuasive. Instead, they confirm the obvious: the Government tapped Defendants’ phones, not

because it needed additional evidence of the arrangements between its cooperator and Mr. Evans,

but because the Government wanted to obtain evidence of other potential offenses.

        Here, the only stated, non-boilerplate justification for the highly intrusive use of a wiretap

on Defendants’ cell phones, notwithstanding Mr. Blazer’s cooperation, was that wiretaps were

needed to uncover additional, potentially criminal conversations involving Mr. Dawkins. (See

ECF No. 130 at 6). Notably, the April 7 Affidavit included no factual support for this conclusory

assertion that additional, “potentially criminal conversations” existed. Using a wiretap to detect

other offenses is unlawful, and in this regard the April 7 Affidavit is no different than the

defective affidavit considered in Lilla. That the Government can now point to evidence from the

wiretaps that it may rely on in proving its alleged bribery schemes against Defendants, such as



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communications between Defendants and certain coaches, is beside the point. The question is

whether the Government needed the wiretaps to investigate its bribery scheme—it did not.

       Second, there is no merit to the Government’s argument that the April 7 Affidavit proved

necessity because “[i]n over 13 pages, [it] set forth in exacting detail . . . why over a dozen

typical methods of investigation would either be futile, not feasible, or insufficient to fully

investigate the alleged schemes.” (Opp. at 53). The Court should discredit these boilerplate, self-

serving statements regarding the insufficiency of certain other investigative methods where one

in particular – a cooperator taking direction from law enforcement and consensually recording

every communication – was thoroughly successful. See Lilla, 699 F.2d at 104.

       Finally, the Government’s efforts to distinguish this case from Lilla are unavailing. Just

as the investigation in Lilla could be viewed as occurring in the multi-billion-dollar narcotics

industry, so too can the supposed scheme involving Defendants be viewed as taking place within

the “billion dollar industry of college athletics.” (Opp. at 56). The principal problem in both

cases is the same: the wiretap applications alleged a single, narrow scheme already known to the

Government. The only additional evidence the wiretaps would reveal was evidence of other

potential crimes that the Government suspected might exist, but did not have probable cause to

believe in fact occurred or were occurring. Likewise, the investigation related to Defendants was

hardly “a complex white-collar investigation” requiring the Government to unravel a labyrinth

paper trail. To the contrary, the investigation here more closely resembled the narcotics

investigation described in Lilla in that the Government relied primarily on cooperating witnesses

and recorded conversations. In any event, the comparative significance of a particular case does

not warrant relaxation of the stringent requirements of the Wiretap Act.




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IV.     The Good Faith Exception Does Not Apply to Title III’s Mandatory Suppression
        Remedy for Statutory Violations.

        The Government argues that even if the Court concludes that the April 7 Order is facially

insufficient under Subsection (ii), suppression is not required because the Government “acted in

good faith” in reliance upon it. (Opp. at 57). The Government’s claim that the good-faith

exception to the exclusionary rule applies in Title III cases, id., overstates the law. In fact, the

“good faith” exception applies only where there is a “constitutional” infirmity in a Title III

wiretap order, not a statutory violation, as is the case with the April 7 Order.

        Within its statutory framework, certain Title III provisions codify Fourth Amendment

requirements: for example, Section 2518(1)(b) codifies the Fourth Amendment’s particularity

requirement and Section 2518(3)(a) codifies its probable cause requirement. Other Title III

provisions, in contrast, have no antecedent in the Fourth Amendment. The Constitution does not

require the approving Justice Department official to be identified by name in a search warrant, but

Section 2518(4)(d) requires this information to be included in every wiretap order.

        As discussed above, the Supreme Court in Giordano considered a wiretap order that was

facially “sufficient,” but nonetheless violated the provision of Title III that limited approval

authority over a wiretap request to certain Justice Department officials. Id. at 525. The Supreme

Court found that this statutory violation violated a “core concern” of Title III and thus, Subsection

(i)’s suppression remedy was triggered. Id. at 528 (“We are confident that . . . suppression must

follow” because the “statutory requirement has been ignored.”).

        The Government in Giordano argued against suppression, claiming, as it does here, that

“search and seizure law” under the Fourth Amendment should control. Id. The Supreme Court

squarely rejected this argument and explicitly distinguished constitutional “search and seizure

law” from Congress’s right to statutorily mandate the “suppression of evidence obtained in

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violation of explicit statutory prohibitions.” Id. at 529. The Supreme Court confirmed that both

the text and the legislative history of Title III “provide for the suppression of evidence” whenever

that evidence is obtained in “violation of the [statute].” Id.; id. at 524 (suppression as a remedy

“does not turn on the judicially fashioned exclusionary rule aimed at deterring violations of

Fourth Amendment rights, but upon the provisions of Title III.”).

       The Second Circuit’s reasoning in United States v. Spadaccino echoes the reasoning in

Giordano. 800 F.2d 292 (2d Cir. 1986). In Spadaccino, the Circuit declined to apply the good-

faith exception to a state wiretapping statute that was “analogous” to Title III and explained that

there is a distinction between the “judicially-crafted” remedies developed under the Fourth

Amendment – e.g., the good-faith exception – and instances in which “suppression is required by

a statutory mandate” for a statutory violation:

       The Fourth Amendment exclusionary rule is based on the Supreme Court’s
       weighing of the costs and benefits of the exclusion of evidence as a deterrent to
       police conduct that violates certain federal constitutional rights. In the present case,
       in contrast, suppression is required by a statutory mandate. Thus, in determining
       such matter as the nature of the rights to be protected, the conduct that constitutes
       a statutory violation, and the remedy warranted by a violation, it is appropriate to
       look to the terms of the statute and the intentions of the legislature, rather than to
       invoke judge-made exceptions to judge-made rules.

Id. at 296. The Title III cases decided by this Court and cited by the Government, United States

v. Tomero and United States v. Bellomo, are consistent with this distinction. In both, the Court

dealt with provisions codifying the Fourth Amendment principles of particularity and/or probable

cause, and thus the use of the “good-faith exception” was appropriate. Tomero, 462 F. Supp. 2d

565, 568 (S.D.N.Y. 2006); Bellomo, 954 F. Supp. 630, 641 (S.D.N.Y. 1997). For the same

reason, the Government’s reliance on the Second Circuit’s decision in United States v. Bianco is

also misplaced. 998 F.2d 1112, 1125-26 (2d Cir. 1993) (challenge to a wiretap order’s

compliance with Section 2518(11), which addresses the constitutional requirements of

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particularity and probable cause in the context of a “roving intercept” order). Because the “good-

faith exception” applies only to constitutional violations, there is no basis for its application here,

since the insufficiency in the April 7 Order is statutory.

 V.     Title III Mandates Suppression of the Communications Intercepted Pursuant to the
        Subsequent Wiretap Orders.

        When a wiretap order is found to be “insufficient on its face,” Title III mandates that all

intercepted communications as well as any “evidence derived therefrom” must be suppressed. 18

U.S.C. § 2518(10)(a)(ii); 18 U.S.C. § 2515. In Giordano, the Supreme Court suppressed

evidence from an invalid wiretap order, dated October 16, 1970, as described above. The

Supreme Court also suppressed communications intercepted pursuant to an “extension” of the

invalid October 16 order, as well as evidence obtained via two unrelated “pen register” orders, on

the basis that each of these subsequent orders “detailed at considerable length the contents of

conversations intercepted pursuant to the [invalid October 16] order.” 416 U.S. at 511, n.2.

        The Government wholly ignores the Supreme Court’s suppression of evidence derived

from these pen register orders and incorrectly informs the Court that the “extension” order was

“all that was at issue in Giordano.” (Opp. at 65). On the basis of this mistake, the Government

extrapolates a “rule” that evidence derived from an “extension” order may be suppressed without

an “independent source” analysis, but that evidence derived from any other order may not be

suppressed without an “independent source” analysis. (Opp. at 58-67). The Government

misreads Giordano. The extension order in Giordano was suppressed because its application “set

down in detail the relevant communications overheard under the [invalid October 16] order.” 416

U.S. at 531. While the Supreme Court explained that Title III’s requirement that a judge

“consider[] the results” obtained from an initial order before authorizing an extension made it

“obvious” that the interceptions captured pursuant to the invalid October 16 order had been

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“presented [to], considered and relied on” by the court, id. at 533, the lesson to be taken from this

language is not that suppression is mandatory only for “extensions,” but rather that suppression is

mandatory wherever communications captured via an invalid order are used to obtain a

subsequent order.

       This conclusion is buttressed by the Supreme Court’s treatment of the pen register orders,

which were not extensions of the invalid October 16 order at all, but rather were extensions, dated

October 22, 1970 and November 6, 1970, of a wholly separate pen register order. Id. at 533,

n.19. The Supreme Court affirmed suppression of these unrelated orders because the applications

for them included “logs of telephone conversations monitored under the [invalid] October 16

order.” Id. In confirming that suppression was appropriate, the Supreme Court did not engage in

the “independent source” analysis that the Government argues is required. Indeed, Justice Powell

dissented from the majority’s opinion precisely because he believed an “independent source” test

should have been applied, but wasn’t.8 Id. at 554-556 (Powell, J., dissenting). Because the

Supreme Court has confirmed that interceptions captured pursuant to subsequent orders constitute

derivative evidence where the applications for those orders “detail[ed] at considerable length the

contents of conversations intercepted pursuant to the [prior invalid] order,” id. at 511, n.2, the



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        The Government cites to several decisions in which other Circuits have distinguished
between original and extension orders in reliance upon “Justice Powell’s characterization of the
majority opinion [in Giordano]” where Justice Powell stated, in footnote 7 of his dissent, that “the
independent source doctrine is fully applicable to original orders.” (Opp. at 65-66 & n.25 (citing
United States v. Kilgore, 524 F.2d 957, 959 (5th Cir. 1975)). Giordano’s majority opinion,
however, says no such thing and its treatment of the pen register orders belies Justice Powell’s
“characterization” of its holding. In any event, it is the majority’s opinion in Giordano that is
binding on this Court. Indeed, the one district court decision cited by the Government from this
Circuit, United States v. Caruso, acknowledged that Giordano “casts some doubt on the validity
of the independent source rule in some contexts.” 415 F. Supp. 847, 851 (S.D.N.Y. 1976). The
Second Circuit affirmed “without opinion” and in the 40 years since it was decided, Caruso has
not once been cited as standing for the proposition that there is a difference between extension
and original orders.
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communications obtained via the subsequent Wiretap Orders of Defendants’ phones should be

suppressed.

VI.    Defendants’ Request for the Grand Jury Minutes Should be Granted.

       Defendants have moved pursuant to Rule 6(e)(3)(E)(ii) for a copy of the grand jury

proceedings, so that they may ascertain whether the Indictment against them was based almost

exclusively upon communications intercepted pursuant to the April 7 Wiretap Order, or evidence

derived therefrom. In opposition, the Government flatly states that the Indictment was based on

legitimate evidence. At a minimum, however, this Court should conduct an in camera view,

rather than taking the Government’s word for it.

DEFENDANTS’ MOTION TO SUPPRESS CELL PHONE EVIDENCE

       Again, Defendants recognize that several of Judge Kaplan’s holdings in Gatto, many of

which the Government cited in its response, run contrary to the arguments within Defendants’

Motion to Suppress Cell Phone Evidence. However, Defendants respectfully disagree with those

holdings and, for the reasons set forth below, request that this Court decline to follow them.

  I.   The Warrants do not Establish Probable Cause to Search Defendants’ Cell Phones.

       To satisfy the Fourth Amendment’s probable cause requirement, the Government must

demonstrate that there is a “fair probability that contraband or evidence of a crime will be found

in a particular place.” Illinois v. Gates, 462 U.S. 213, 238, 103 S.Ct. 2317, 2332 (1983). As

detailed in Defendants’ opening brief, a search warrant application purporting to establish that an

individual has engaged in criminal activity does not provide probable cause to search the entirety

of that individual’s possessions. (See ECF No. 126 at 13). Rather, the probable cause must be

based on “a sufficient nexus between the criminal activities alleged” and the location or items

searched. Id.



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          In its response, the Government argues that the applications for each warrant established

a “fair probability that contraband or evidence of a crime” would be found in Defendants’ cell

phones because they “specifically identified calls and text messages relevant to the charged

crimes and made using one or more of the Cell Phones.” (Opp at 76). In support of that claim,

the Government cites Judge Kaplan’s holding in Gatto, (Opp. at 76-77), which, like Judge

Preska’s holdings in Person (as cited by the Government and discussed above), Defendants

respectfully disagree with.

          In short, the Code and Dawkins Applications’ statements that Mr. Code engaged in

thirteen calls, and that in addition to calls Mr. Dawkins had a single relevant text message, are

insufficient to establish probable cause to search Defendants’ cell phones. Aside from Judge

Kaplan’s holding in Gatto, the Government cites no case suggesting that cell phone usage in an

alleged fraud provides probable cause to search data contained on the phone. Accordingly, the

evidence obtained from these searches should be suppressed.

    II.   The Warrants are Impermissibly Overbroad.

          Even assuming that the Court finds that the Warrant Applications provided probable cause

to search Defendants’ phones, the Search Warrants authorized an all-encompassing sweep of

information beyond the data identified in the Applications that purportedly contained evidence of

criminality.9 In permitting the Government to search the entirety of the data contained on

Defendants’ cell phones, the Warrants stretch far beyond the scope of the probable cause set forth

in the Applications and therefore are impermissibly overbroad. A warrant permitting seizure of

“fairly broad” types of materials is permissible if “the affidavit in support of the search warrant


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       The Warrants authorized “examination of all of the seized data to evaluate its contents
and determine whether the data is responsive to the warrant.” (Ex. 3 to Defs.’ Mot. to Suppress
Cell Phone Evid. at MC_00000115; Ex. 4 to Defs.’ Mot. to Suppress Cell Phone Evid. at
CD_00000184) (emphasis added)).
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application provides the necessary basis for a determination of probable cause to seize items in

each of these categories.” United States v. Hernandez, No. 09 CR 625 (HB), 2010 WL 26544, at

*8 (S.D.N.Y. Jan. 6, 2010) (emphasis added). The Applications here provide no such basis.

       In response, the Government argues that it may search the entirety of a premises for

evidence enumerated in a warrant and that this general rule “applies with equal force to searches

of cell phones and electronic media.” (Opp. at 77-78). The Government is wrong, and the

authorities that it relies upon are inapposite. In United States v. Ulbricht, the warrant permitted

the Government to broadly search the defendant’s laptop for evidence related to allegations that

he created and operated Silk Road, an online black market for drugs and other illicit materials.

858 F.3d 71, 82-83 (2d Cir. 2017). In upholding the warrant, the Second Circuit relied on the

“permeated with fraud” exception to the Fourth Amendment’s breadth requirement, explaining

that because the crimes under investigation “were committed largely through computers,” and the

“search warrant application gave ample basis” to conclude that evidence of the crimes “likely

permeated [defendant’s] computer,” Ulbricht was different from “the more typical case in which”

a computer “largely contains non-criminal information,” and therefore a broad search of the

defendant’s laptop was warranted. Id. at 103-04.

       Here, however, there is no basis to conclude that evidence of fraud “permeates”

Defendants’ phones. Moreover, “if the government is relying upon the ‘permeated with fraud’

exception to support an application for an otherwise overly-broad search warrant, it should state

so in the application[.]” United States v. Wey, 256 F. Supp. 3d 355, 392 (S.D.N.Y. 2017)

(quoting United States v. Bridges, 344 F.3d 1010, 1020 (9th Cir. 2003)) (quotation marks

omitted). The Warrant Applications, however, fail to mention this exception. Instead,

Defendants’ case involves the “more typical situation” in which electronic devices – here,



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personal cell phones – “largely contain[] non-criminal information” and a broad search is

inappropriate. Ulbricht, 858 F.3d. at 103-04.

       No case cited by the Government supports its contention that it is entitled to search all the

data on a phone because the phone was used for calls. In United States v. Vilar, the court held

that probable cause to search certain offices for certain documents did not support the broad

seizure of all business records. No. S305 Cr. 621, 2007 WL 1075041, at *20 (S.D.N.Y. Apr. 4,

2007). In United States v. Juarez, the court noted that the warrant limited the evidence to be

seized to particular categories of data, such as photos and videos, that were likely to contain

evidence of unlawful surveillance by the defendant. No. 12 CR 59 (RRM), 2013 WL 357570, at

*5 (E.D.N.Y. Jan. 29, 2013). Similarly, the warrant at issue in In re a Warrant for All Content &

Other Information Associated with the Email Account xxxxxxx@gmail.com Maintained at

Premises Controlled by Google, Inc. related to a single category of data – emails – for which the

Government demonstrated probable cause to search. 33 F. Supp. 3d 386, 394 (S.D.N.Y. 2014).

       As Defendants’ opening brief made clear, case law squarely on point compels the

conclusion that the Search Warrants are impermissibly overbroad. (See ECF No. 126 at 16-19).

In United States v. Winn, 79 F. Supp. 3d 904 (S.D. Ill. 2015), the court held that a search warrant

was overbroad because, although there was probable cause to search “a very small and specific

subset of data,” the warrant “authorized the police to seize the entirety of the phone and

rummage through every conceivable bit of data.” Id. at 922. While the Government claims that

Winn rested on the fact that the warrant application did not set forth facts learned during the

investigation or the affiant’s training and experience, the court’s primary concern was that the

warrant’s search methodology – which is indistinguishable from the methodology set forth in the

Search Warrants – “authorized the seizure of virtually every piece of data that could conceivably



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be found on the phone.” 79 F. Supp. 3d 904, 919 (S.D. Ill. 2015); (Opp. at 80-81). Similarly,

although the Government contends that In re Nextel Cellular Telephone turned on the fact that the

warrant application did not specify search protocols, the key concern underlying the opinion was

that “the government [was] requesting it be allowed to search everywhere and seize anything

regardless of whether or not the data contained therein falls under the scope of its warrant.” No.

14 MJ 8005, 2014 WL 2898262, at *13 (D. Kan. June 26, 2014); (Opp. at 81-82). This is the

same concern that renders the Warrants here constitutionally defective.

       As Judge Nathan recently explained, “‘if [the applying officer] wants to seize every type

of data from the cell phone, then it was incumbent upon him to explain in the complaint how and

why each type of data was connected to [Defendants’] criminal activity[.]’” Wey, 256 F. Supp. 3d

at 392 (quoting Winn, 79 F. Supp. 3d at 920). Here, the Applications at best explain how certain

discrete categories of data in Defendants’ phones – like call logs and contacts – might be

connected to criminal activity: they are silent as to every other category of data. The Warrants are

thus overbroad.

III.   The Good Faith Exception does not Apply.

       Because no case law supports a finding of probable cause to search the data on a cell

phone based on its use for calls in an alleged fraud, and because the Warrants were facially

overbroad, any law enforcement officer’s reliance upon them was unreasonable. See United

States v. Leon, 468 U.S. 897, 923, 104 S.Ct. 3405, 3421 (1984) (suppression is appropriate where

a warrant is “based on an affidavit so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable.”); Wey, 256 F. Supp. 3d at 408 (good faith exception

inapplicable where “agents – who are charged with reasonable knowledge of what the law

prohibits – appear[ed] to have disregarded well-established constitutional principles that provide a

bulwark against the execution of general warrants.”); United States v. Zemlyansky, 945 F. Supp.
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2d 438, 472 (S.D.N.Y. 2013) (declining to apply the good faith exception because “all applicable

law was clearly established at the time of the [search], and . . . the Government’s agents

nonetheless violated the law[.]”). Thus, the Government cannot carry its burden to “demonstrate

the objective reasonableness of the officers’ good faith reliance [on an invalidated warrant],”

United States v. George, 975 F.2d 72, 77 (2d Cir. 1992), and all evidence obtained from the

searches of Defendants’ phones should be suppressed.

DEFENDANTS’ MOTION FOR A BILL OF PARTICULARS AND ADDITIONAL
DISCOVERY

  I.   Defendants’ Motion for a Bill of Particulars Should be Granted.

       “Whether to grant a bill of particulars rests within the sound discretion of the district

court.” United States v. Zemlyansky, 945 F. Supp. 2d 438, 485 (S.D.N.Y. 2013) (quotations

omitted); see also Opp. at 89. “When exercising this discretion, a court must consider the totality

of the information available to the defendant . . . to determine whether, in light of the charges

that the defendant is required to answer, the filing of a bill of particulars is warranted.” United

States v. Thompson, No. 13 CR. 378 AJN, 2013 WL 6246489, at *7 (S.D.N.Y. Dec. 3, 2013)

(citations and quotations omitted); see also Opp at 89.

       Contrary to the Government’s outlandish assertion that “there is nothing particularly

unique about the charges here,” (Opp. at 85), there is no question that the unprecedented

criminalization of private NCAA rule violations presents a novel theory of liability in the world

of federal law enforcement. Under the Government’s theory, any NCAA rule violation could be

tantamount to a federal crime, which makes it difficult to fathom how the Government can

suggest that there is “nothing particularly unique” about this case.

       Furthermore, and likewise contrary to the Government’s assertion that Defendants “have

more than sufficient information to prepare for trial,” (Opp. at 85), Defendants cannot adequately


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prepare for trial without specification of certain details concerning the nature and scope of the

scheme charged in this case. (See ECF No. 129 at 5-6); see also United States v. Bortnovsky, 820

F.2d 572, 574 (2d Cir. 1987) (bill of particulars is warranted where a defendant would otherwise

be “unable to prepare adequately for trial”).

       The Government correctly recognizes that Rule 7(f) of the Federal Rules of Criminal

Procedure permits Defendants to seek a bill of particulars where necessary to “prepare for trial”

or “prevent surprise.” (Opp. at 86); see also Bortnovsky, 820 F.2d at 574. That is exactly the case

here. However, throughout its response, the Government repeatedly suggests that Defendants are

attempting to use a bill of particulars for an improper purpose, such as to preview the evidence or

legal theory of the Government’s case or to otherwise lock the Government into its proof. (Opp.

at 87, 88, 90). Those suggestions are false. The only reason Defendants are requesting a bill of

particulars is because the information sought is necessary to allow Defendants to adequately

prepare for trial. See United States v. Trippe, 171 F. Supp. 2d 230, 240 (S.D.N.Y. 2001) (“[T]he

proper test in deciding whether a bill of particulars should be required of the Government is

whether the bill of particulars is necessary for the defense[.]”). And, notably, the Government

highlights the well-established rule that a defendant must be allowed to “prepare fully for trial,”

(Opp. at 89), which Defendants cannot do without the requested information.

       With respect to Request 4, which seeks the identities of unindicted co-conspirators, the

Government lists a number of factors that courts have considered in evaluating such a request.

(Opp. at 91). These factors include “the number of co-conspirators, the duration and breadth of

the alleged conspiracy, whether the Government has otherwise provided adequate notice of the

particulars, the volume of pretrial discovery, the potential danger to co-conspirators and the

nature of the alleged criminal conduct, and the harm to the Government investigation.” (Id.; see



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also United States v. Reddy, 190 F. Supp. 2d 558, 570 (S.D.N.Y. 2002)). The Government

incorrectly argues that “many of these factors weigh against requiring the Government to

disclose the identities of co-conspirators in advance of trial” when, in fact, most of them weigh in

favor of disclosure. (Opp. at 91). Specifically, aside from the duration of the conspiracy and the

volume of pretrial discovery, the remaining factors all weigh in favor of disclosure.

       While the breadth of the types of crimes alleged in the conspiracy may have been narrow,

see id., the “breadth of the alleged conspiracy” itself is extremely broad. Indeed, the alleged

conspiracy involved a multitude of different universities across the United States. With respect to

the number of co-conspirators, there is no way of knowing that information absent its disclosure

to Defendants. Likewise, if the Government would have provided adequate notice of the

particulars, Defendants would not have been forced to make this request. Furthermore, the

Government has offered nothing to suggest that disclosure of the requested information would

pose some sort of danger to the undisclosed co-conspirators and, given the nature of the alleged

criminal conduct in this case, it is difficult to fathom how disclosure of the information would

put any co-conspirator in harm’s way. Lastly, the Government has offered no explanation as to

how disclosure of the requested information would harm its investigation. Consideration of these

factors, especially combined with the fact that Defendants cannot fully and adequately prepare

for trial without knowing the identity of unindicted co-conspirators, weigh heavily in favor of

disclosure.

       With respect to Requests 1, 2, and 3, Defendants are not seeking the “minutiae” of the

Government’s case. Rather, as detailed above, Defendants are merely attempting to fully and

adequately prepare for trial, which is currently scheduled to begin in less than two months. Given

the unique theory of liability posed by this case, the requested information is necessary for



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Defendants to be able to adequately furnish a defense. Accordingly, Defendants are entitled to a

bill of particulars.

 II.    Defendants’ Motion for Additional Discovery and Early Brady and Giglio
        Disclosures Should be Granted.

        As detailed in Defendants opening brief, Federal Rule of Criminal Procedure

16(a)(1)(E) entitles Defendants to the outstanding discovery that Defendants requested nearly

seven months ago. (ECF No. 129 at 4). Not only are the requested materials relevant to the

preparation of their defense, but they may also prove key in examining the legality of the

extensive wiretapping which occurred in this case. (Id.). While Defendants are admittedly

“acknowledg[ing] the obvious[,]” “the obvious” is not a “fishing expedition” like the

Government suggests. (Opp. at 95). Rather, “the obvious” is exactly what Defendants

explained in their opening brief, which is that without the ability to review the requested

materials, Defendants cannot be certain as to their relevance to Defendants’ defense, and

Defendants cannot ascertain the legality of the extensive wiretapping that occurred in this case.

(ECF No. 129 at 4). Accordingly, Defendants request for additional discovery should be

granted.

        Regarding Defendants request for the immediate disclosure of Brady and Giglio

material, it is self-evident that counsel for Defendants cannot mount an adequate and effective

trial defense without timely Brady/Giglio disclosure. Notably, the Government admits that it is

required to “turn over constitutionally required exculpatory and impeachment information in

time for defendants to use it effectively at trial[.]” (Opp. at 95). That time is now, especially

when considering the history of voluminous productions in this case combined with the fact

that trial is scheduled to begin in less than two months. Moreover, while Defendants appreciate

the Government’s correspondence containing acknowledgments of its Brady obligations and


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representations that it intends to comply fully will those obligations, see Opp. 95-96, the

unfortunate fact of the matter is that there have been a rash of recent Brady violations within

the Southern District. (See ECF No. 129 at 7 n.3). Accordingly, notwithstanding the

Government’s promises and guarantees, Defendants respectfully request that this Court order

the Government to produce the requested information immediately.

                                          CONCLUSION

        For the foregoing reasons, Defendants’ Pretrial Motions should be granted in their

entirety.



Dated: New York, New York
       March 1, 2019

Respectfully submitted,


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